Case 9:16-cv-81992-KAM Document 46 Entered on FLSD Docket 07/19/2017 Page 1 of 3



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 16-81992-CIV-MARRA

  BRANDON LEIDEL, individually and on
  behalf of all others similarly situated, and
  JAMES D. SALLAH, ESQ. as receiver/
  corporate monitor of Project Investors, Inc.,
  d/b/a Cryptsy,

  Plaintiffs,

  vs.

  COINBASE, INC., a Delaware corporation
  d/b/a GLOBAL DIGITAL ASSET EXCHANGE
  (GDAX),

  Defendant.
  _____________________________________/

                                                  ORDER1

          This cause is before the Court upon Defendant’s Motion to Stay Litigation Pending

  Appeal (DE 38). The Court has carefully considered the Motion, the Response and the Reply,

  and is otherwise fully advised in the premises.

          Defendant moves for a stay pending resolution of its appeal from the order denying

  Defendant’s motion to compel arbitration. (DE 36.) Plaintiff opposes this request, claiming that

  the appeal is frivolous.

          The parties agree that this matter is governed by Blinco v. Green Tree Servicing, LLC,

  366 F.3d 1249 (11th Cir. 2004). That case states that “[w]hen a litigant files a motion to stay

  litigation in the district court pending an appeal from the denial of a motion to compel

  arbitration, the district court should stay the litigation so long as the appeal is non-frivolous.” Id.

          1
              The Court presumes familiarity with its prior Orders.
Case 9:16-cv-81992-KAM Document 46 Entered on FLSD Docket 07/19/2017 Page 2 of 3



  at 1253.

         After careful review, the Court finds that a stay pending appeal is appropriate. In moving

  to compel arbitration, Defendant proceeded under the theory of equitable estoppel. The Court

  rejected this theory, relying on Seth v. Rajagopalan, No. 12-Civ-61040, 2013 WL 11927712

  (S.D. Fla. Jan. 25, 2013). There, a defendant moved to compel arbitration against the plaintiff

  when there was an agreement to arbitrate among all the defendants, but the plaintiff was not a

  party to that agreement. Id. at * 2. That court rejected the assertion that the plaintiff was

  equitably estopped from avoiding arbitration where the plaintiff’s case did not hinge entirely on

  the agreement containing the arbitration clause, the plaintiff was not seeking damages in

  accordance with the agreement containing the arbitration clause and the plaintiff did not directly

  benefit from the agreement. Id. at * 8. Significantly, even though the Seth court rejected the

  defendant’s arguments to compel arbitration, the Seth court did grant the defendant’s motion to

  stay pending appeal.

         Under the Blinco standard, the Court finds that the appeal is not frivolous and that

  judicial resources are best spent by allowing Defendant to pursue its appeal, as opposed to

  proceeding in case where a pending appeal concerns a party’s right not to litigate the dispute at

  all. Seth v. Rajagopalan, No. 12-Civ-61040, 2013 WL 11927709, at * 1 (S.D. Fla. Mar. 5, 2013)

  (citing Blinco, 366 F.3d at 1251-52).

         Accordingly, it is hereby ORDERED AND ADJUDGED as follows

         1)      Defendant’s Motion to Stay Litigation Pending Appeal (DE 38) is GRANTED.

         2)      All proceedings in this case are STAYED pending resolution of the interlocutory

                 appeal.


                                                    2
Case 9:16-cv-81992-KAM Document 46 Entered on FLSD Docket 07/19/2017 Page 3 of 3



         3)      All pending motions are DENIED WITHOUT PREJUDICE to being re-filed, if

                 appropriate, upon the case being reopened.

         4)      The Clerk shall ADMINISTRATIVELY CLOSE the case.

         5)      Either party may seek to reopen the case at the appropriate time.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 18th day of July, 2017.

                                               ______________________________________
                                               KENNETH A. MARRA
                                               United States District Judge




                                                  3
